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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



EDWARD DONALD BURLEY,

                     Plaintiff,

vs.                                                                     Case No. 18-12239

MICHELLE WILLIAMS, et al.,                                            HON. AVERN COHN

                Defendants,
_________________________________/

  ORDER GRANTING PLAINTIFF’S REQUEST FOR AN EXTENSION OF TIME TO
                      CORRECT THE DEFICIENCY
                                AND
   DIRECTING THE CLERK TO SEND PLAINTIFF A COPY OF THE COMPLAINT

                                             I.

       This is a prisoner civil rights case under 42 U.S.C. § 1983. Shortly after the

complaint was filed, the Court issued an order of deficiency, requiring plaintiff to provide

(5) five copies of the complaint for service upon the five (5) defendants. The order also

provided that the Clerk send plaintiff a copy of the complaint so that he could make the

copies.

       Plaintiff has sent two letters to the Court, requesting an extension of time to

correct the deficiency, explaining that his copy of the complaint was stolen. See Docs.

8, 9. Plaintiff asks the Court to provide him with additional time and another copy of the

complaint so that he can make the appropriate number of copies. The request is

GRANTED. See McGore v. Wrigglesworth, 114 F. 3d 601, 605 (6th Cir. 1997).



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                                              II.

       Plaintiff shall have thirty (30) days from the date of this order to provide five (5)

copies of the complaint for service. The Clerk of the Court is directed to send another

copy of the complaint to plaintiff for this purpose. Failure to correct the deficiency within

thirty days of this order may result in dismissal of the action.

       SO ORDERED.


                                           S/Avern Cohn           _
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE

Dated: 9/26/2018
      Detroit, Michigan




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